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                                                     Dated: June 30th, 2022




                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                             HUNTINGTON DIVISION

  In re:                                  )   Lead Case No. 3:19-bk-30289
                                          )
  Blackjewel L.L.C., et al.,              )   Chapter 11
                                          )
              Debtors.                    )   (Jointly Administered)
                                          )
                                          )
  Blackjewel, L.L.C., et al.,             )
                                          )
              Plaintiffs,                 )
                                          )
 v.                                       )     Adv. Pro. No. 20-ap-03007
                                          )
 United Bank,                             )
                                          )
               Defendant.                 )
                                          )

                     ORDER MODIFYING SCHEDULING ORDER

       This case is before the Court on United Bank’s (“Defendant”)

 Motion to Exclude Trust’s Expert, ECF No. 134 (“Expert Motion”);

 Motion to Exclude Trust’s Untimely Disclosed Fact and Expert

 Witnesses, ECF No. 135 (“Witnesses Motion”); Motion for Summary

 Judgment, ECF No. 136 (“Motion for Summary Judgment”); and the

 Liquidation Trust’s Motion for Partial Summary Judgment as to
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 Liability on Count One for Tortious Interference, ECF No. 138

 (“Motion    for     Partial    Summary      Judgment”).    The   current      Order

 Regarding Scheduling sets the deadline to file any motions in

 limine and other pretrial motions as July 11, 2022, with responses

 due by July 18, 2022, and a pretrial hearing to take place on July

 25, 2022.     ECF No. 158.           The Court is entering this order to

 provide counsel advanced notice of the impending rulings and to

 avoid unnecessary expense in the interim.

       The Court will be entering orders as follows:

       1.    The     Court     will   deny    the   cross-motions    for    summary

 judgment as there is sufficient evidence establishing genuine

 issues of material fact as to liability and damages.

       2.    The Court will deny the Witnesses Motion and will permit

 testimony from Rob White and Dan Chu, and further deny any request

 for sanctions, subject to re-opening discovery for the limited

 purposes stated below.

       3.    The Court will grant in part and deny in part the Expert

 Motion.    As will be further discussed, Weiss shall be permitted to

 testify as a qualified expert, subject to the reliability of any

 amended report issued pursuant to the Court’s orders.                      However,

 the Court will grant the motion to strike damage testimony because

 the opinion on the amount of damages was insufficiently supported

 by any reliable methodology and was based solely on the ipse dixit

 of the expert.        Kumho Tire Co. v. Carmichael, 526 U.S. 137, 157
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 (1999) (quoting          General Elec. Co. v. Joiner, 522 U.S. 136, 146

 (1997)).    The Court, in its discretion, will permit Weiss to amend

 his report in this case and will re-open discovery related thereto

 as provided below.

       Therefore, it is hereby ORDERED that:

       1.    Discovery will be reopened for the following limited

 purposes:

             a.      Permitting the deposition of Rob White and Dan Chu

 on the subject of the auction, to be complete within 30 days of

 the entry of the Court’s Order overruling the motion, or as

 otherwise extended by this Court;

             b.      Provide the Weiss 30 days from the entry of the

 Court’s Order granting Defendant’s motion in part to file an

 amended report regarding damages;

             c.      Provide Defendant 14 days thereafter to file a

 responsive report.

             d.      Reopen discovery solely with respect to experts for

 30 days after the deadline to file any responsive report.

       2.    The pre-trial motion deadlines as set forth in the Order

 Regarding Scheduling, paragraph 3, are suspended pending further

 order of the Court.

       3.    The pretrial hearing set for July 25, 2022, shall be

 converted    to     a    pretrial      status    conference    and   a   scheduling

 conference.
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       4.   The      deadlines     for   final    pretrial    disclosures      and

 exhibits as set forth in the Order Regarding Scheduling, paragraphs

 4 and 5, are suspended pending further order of the Court.

       5.   The Court will reschedule trial at the status hearing on

 July 25, 2022.



                                [END OF DOCUMENT]
